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   8                     UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
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 11    IN RE MERIT MEDICAL SYSTEMS,                No. 8:19-cv-02326-DOC-ADS
       INC., SECURITIES LITIGATION
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 13                                                ORDER AWARDING
                                                   ATTORNEYS’ FEES AND
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                                                   LITIGATION EXPENSES
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   1        This matter came on for hearing on April 13, 2022 (the “Settlement Hearing”)
   2 on Lead Counsel’s motion for attorneys’ fees and Litigation Expenses. The Court
   3 having considered all matters submitted to it at the Settlement Hearing and otherwise;
   4 and it appearing that notice of the Settlement Hearing substantially in the form
   5 approved by the Court was mailed to all Settlement Class Members who or which
   6 could be identified with reasonable effort, and that a summary notice of the Settlement
   7 Hearing substantially in the form approved by the Court was published in Investor’s
   8 Business Daily and was transmitted over the PR Newswire pursuant to the
   9 specifications of the Court; and the Court having considered and determined the
 10 fairness and reasonableness of the award of attorneys’ fees and Litigation Expenses,
 11         NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
 12         1.     This Order incorporates by reference the definitions in the Stipulation and
 13 Agreement of Settlement dated December 21, 2021 (ECF No. 105-1) (the
 14 “Stipulation”) and all capitalized terms not otherwise defined herein shall have the
 15 same meanings as set forth in the Stipulation.
 16         2.     The Court has jurisdiction to enter this Order and over the subject matter
 17 of the Action and all parties to the Action, including all Settlement Class Members.
 18         3.     Notice of Lead Counsel’s motion for attorneys’ fees and Litigation
 19 Expenses was given to all Settlement Class Members who could be identified with
 20 reasonable effort. The form and method of notifying the Settlement Class of the motion
 21 for attorneys’ fees and Litigation Expenses satisfied the requirements of Rule 23 of
 22 the Federal Rules of Civil Procedure, the United States Constitution (including the
 23 Due Process Clause), the Private Securities Litigation Reform Act of 1995, 15 U.S.C.
 24 § 78u-4, as amended, and all other applicable law and rules, constituted the best
 25 notice practicable under the circumstances, and constituted due and sufficient notice
 26 to all persons and entities entitled thereto.
 27         4.     Lead Counsel are hereby awarded attorneys’ fees in the amount of 30%
 28 of the Settlement Fund and $104,686.68 for Lead Counsel’s litigation expenses (which

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   1 fees and expenses shall be paid from the Settlement Fund), which sums the Court finds
   2 to be fair and reasonable.
   3        5.      In making this award of attorneys’ fees and Litigation Expenses to be
   4 paid from the Settlement Fund, the Court has considered and found that:
   5             a) The Settlement has created a fund of $18,250,000 in cash that has been
   6                funded into escrow pursuant to the terms of the Stipulation, and numerous
   7                Settlement Class Members who submit acceptable Claim Forms will
   8                benefit from the Settlement because of Lead Counsel’s efforts;
   9             b) The fee sought by Lead Counsel has been reviewed and approved as
 10                 reasonable by Class Representatives, the two institutional investor Lead
 11                 Plaintiffs which oversaw the prosecution and resolution of the Action;
 12              c) Copies of the Notice were mailed to over 25,000 potential Settlement
 13                 Class Members and nominees stating that Lead Counsel would apply for
 14                 attorneys’ fees in an amount not to exceed 30% of the Settlement Fund
 15                 and Litigation Expenses in an amount not to exceed $250,000;
 16              d) There were no objections to the requested attorneys’ fees and Litigation
 17                 Expenses;
 18              e) Lead Counsel have conducted the litigation and achieved the Settlement
 19                 with skill, perseverance, and diligent advocacy;
 20              f) The Action raised a number of complex and novel issues;
 21              g) Had Lead Counsel not achieved the Settlement there would remain a
 22                 significant risk that Class Representatives and the other members of the
 23                 Settlement Class may have recovered less or nothing from Defendants;
 24              h) Lead Counsel devoted over 6,550 hours, with a lodestar value of over
 25                 $3.8 million, to achieve the Settlement; and
 26              i) The amount of attorneys’ fees awarded and expenses to be paid from the
 27                 Settlement Fund are fair and reasonable and consistent with awards in
 28                 similar cases.

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   1        6.     Lead Plaintiffs City of Atlanta Police Officers’ Pension Fund and City of
   2 Atlanta Firefighters’ Pension Fund are hereby awarded $5,500.00 from the Settlement
   3 Fund as reimbursement for their reasonable costs and expenses directly related to their
   4 representation of the Settlement Class.
   5        7.     Lead Plaintiff Employees’ Retirement System of the City of Baton Rouge
   6 and Parish of East Baton Rouge is hereby awarded $3,392.01 from the Settlement
   7 Fund as reimbursement for its reasonable costs and expenses directly related to its
   8 representation of the Settlement Class.
   9        8.     Any appeal or any challenge affecting this Court’s approval regarding
 10 any attorneys’ fees and expense application shall in no way disturb or affect the finality
 11 of the Judgment.
 12         9.     Exclusive jurisdiction is hereby retained over the parties and Settlement
 13 Class Members for all matters relating to this Action, including the administration,
 14 interpretation, effectuation or enforcement of the Stipulation and this Order.
 15         10.    In the event that the Settlement is terminated or the Effective Date of the
 16 Settlement otherwise fails to occur, this Order shall be rendered null and void to the
 17 extent provided by the Stipulation.
 18         11.    There is no just reason for delay in the entry of this Order, and immediate
 19 entry by the Clerk of the Court is expressly directed.
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 22         SO ORDERED this 15TH day of April, 2022.
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                                           Hon. David O. Carter
 25                                        United States District Judge
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